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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

 MATTHEW CHARLES SCHLOBOHM,

            Plaintiff,

            v.                                                  CASE NO. 23-3014-JWL

 DONALD ASH, et al.,

            Defendants.


   MOTION TO RECONSIDER AND REOPEN CASE BASED ON VOLUNTARY
                 DISMISSAL WITHOUT PREJUDICE

      Plaintiff Matthew Schlobohm, proceeding pro se in this closed matter,

respectfully submits this Motion to Reconsider and Reopen Case based on the

Voluntary Dismissal Without Prejudice, and in support thereof, states as follows:


I. Introduction


             1. On September 23, 2024, Plaintiff filed a Motion to Withdraw Complaint

                  Without Prejudice (Doc. 93). Defendants had not filed an answer or

                  motion for summary judgment.
             2. Plaintiff’s motion should have immediately ended the case as if it never

                  happened, thereby preserving Plaintiff’s right to refile the complaint at

                  a later date, which was his explicitly stated intention.

             3. The District Court’s subject-matter jurisdiction over this matter was

                  effectively terminated upon the filing of the Motion to Withdraw

                  Complaint Without Prejudice, as was clearly established by this court

                  (See Monare Moore v. Donald Hudson, et al., Case No. 23-3168-JWL, March

                  11, 2024) and the Tenth Circuit (See Waetzig v. Halliburton Energy Servs.,

                  82 F.4th 918 (10th Cir. 2023).
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II. Argument


        It was clearly established on September 23, 2024, that this court lost subject-

        matter jurisdiction over this case the instant that Plaintiff filed the Motion to

        Withdraw Complaint Without Prejudice -- all representations of facts, attempts

        to adjudicate the merits, and subject-matter orders undertaken subsequent to

        the filing by the District Court therefore are nullities.


                4. Addressing the two rules 1 central to Waetzig while helpfully being

                    directly on point for purposes of this motion, the Tenth Circuit

                    reiterated that “The [filing of a Rule 41(a)(1)(i) notice] itself closes the

                    file. There is nothing the defendant can do to fan the ashes of that action

                    into life and the court has no role to play. This is a matter of right

                    running to the plaintiff and may not be extinguished or

                    circumscribed by adversary or court. There is not even a perfunctory
                    order of court closing the file. Its alpha and omega was the doing of

                    the plaintiff alone.” Waetzig citing Janssen v. Harris, 321 F.3d 998 (10th

                    Cir. 2003) quoting Duke Energy Trading & Mktg., L.L.C. v. Davis, 267 F.3d

                    1042, 1049 (9th Cir. 2001) (emphasis added).

                5. “Once the notice of dismissal has been filed, the district court loses

                    jurisdiction over the dismissed claims and may not address the merits

                    of such claims or issue further orders pertaining to them.” Id.

                    (emphasis added).




1 Fed. R. Civ. P. 41(a)(1)(A)(i) and 60(b)



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     6. “’Under Federal Rule of Civil Procedure 41(a)(1), a ‘plaintiff may

         dismiss an action without a court order by filing … (i) a notice of

         dismissal before the opposing party serves either an answer or a motion

         for summary judgment.’ This type of voluntary dismissal ‘does not

         require an order of the court’ and is effective as of the date the notice

         is filed.” Moore quoting Janssen, 998, 1000-01 (emphasis added).

     7. “In addition, ‘[u]nless the notice or stipulation states otherwise, the

         dismissal is without prejudice.’ Id., stating F. R. Civ. P. 41(a)(1)(B).
     8. “The Tenth Circuit has held that ‘a voluntary dismissal without

         prejudice under Rule 41(a) divests the district court of subject-matter

         jurisdiction to consider a Rule 60(b) motion to reopen.” Id., quoting

         Waetzig, 918, 920.


Plaintiff decided in good faith to voluntarily dismiss his complaint without

prejudice -- denying the effect of such a dismissal would capriciously deprive

Plaintiff's ability to seek redress for his grievances and would constitute an
abuse of discretion.


     9. A district court abuses its discretion when the court relies on an

         erroneous conclusion of law or a clearly erroneous factual finding.

         Hafen v. Howell, F.4th (10th Cir. 2024).

     10. A district court abuses its discretion if its ruling is arbitrary, capricious,

         or whimsical, or arises from an error of law or a clear error of fact.

         Owens v. Unified Government of Wyandotte County and Kansas City,

         Kansas, 100 F.4th 1177 (10th Cir. 2024).




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             11. A district court abuses its discretion when it (1) enters an arbitrary,

                 capricious, whimsical, or manifestly unreasonable judgment or (2)

                 applies the wrong legal standard. United States ex rel. Barrick v. Parker-

                 Migliorini International, LLC, 79 F.4th 1262 (10th Cir. 2023).


III. Request for Relief


       Based on the foregoing, Plaintiff respectfully requests that the Court:


             12. Reconsider and grant the Motion to Withdraw Complaint Without

                 Prejudice (Doc. 93), thereby recognizing the termination of this Court’s

                 jurisdiction over the nature of the matter as of September 23, 2024.

             13. Reopen the case solely for the purpose of acknowledging the voluntary

                 dismissal without prejudice under Federal Rule of Civil Procedure 41,

                 consistent with the legal precedent and principles outlined herein.

             14. Grant such other and further relief as the Court deems just and proper.



                                             Respectfully submitted,

                                             /s/ Matthew Schlobohm
                                             Plaintiff
                                             4210 Clark Ave., Apt. 302
                                             Kansas City, Missouri 64111
                                             (816)621-9149
                                             matthew.schlobohm@gmail.com
                                             DATED: November 27, 2024




                               CERTIFICATE OF SERVICE
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       I hereby certify that on November 27, 2024, a true and correct copy of the

foregoing “Motion to Reconsider and Reopen Case Based on Voluntary Dismissal

Without Prejudice” was filed electronically with the Clerk of the Court using the

CM/ECF system, which will send notification of such filing to all parties or their

counsel of record.


/s/ Matthew Schlobohm

Plaintiff




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